948 F.2d 1284
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Shelly WASHINGTON, Plaintiff-Appellant,v.E.R. SUTTON;  William Hanham, Defendants-Appellees,v.Reggie Moss;  Joyce McLaughlin, Defendants.
    No. 91-6640.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 30, 1991.Decided Dec. 5, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Malcolm J. Howard, District Judge.  (CA-90-460-CRT-H)
      Shelly Washington, appellant pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before PHILLIPS and NIEMEYER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Shelly Washington appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Washington v. Sutton, No. CA-90-460-CRT-H (E.D.N.C. July 31, 1991).   We deny Washington's motion for appointment of counsel.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    